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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION

JOHN DOE,
      Plaintiff,
v.                                                 Case No. 4:24-cv-391-AW-MAF
TRULIEVE INC.,
     Defendant.
_______________________________/
              ORDER REGARDING “JOHN DOE” PLAINTIFF

      Plaintiff initiated this action under the name “John Doe,” without identifying

himself. ECF No. 1. This was improper. A plaintiff cannot proceed anonymously

except in “exceptional cases.” In re Chiquita Brands Int’l, Inc., 965 F.3d 1238, 1246

(11th Cir. 2020). Plaintiff has made no effort to show that this is such a case.

      The general rule is that parties must identify themselves in their pleadings. Id.

at 1247 (citing Doe v. Frank, 951 F.2d 320, 322 (11th Cir. 1992)); see also Fed. R.

Civ. P. 10(a) (“The title of the complaint must name all the parties.”). Indeed, there

is a “strong presumption in favor of parties’ proceeding in their own names.”

Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011). This accounts for “the

public’s legitimate interest in knowing all of the facts involved, including the

identities of the parties.” In re Chiquita, 965 F.3d at 1247 (quoting Plaintiff B, 631

F.3d at 1315); accord id. at 1246 (“A lawsuit is a public event, [and] parties who ask




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a court to resolve a dispute must typically walk in the public eye.” (cleaned up)).

Although courts can grant exceptions, it is rare for them to do so. Id. at 1242.

      To proceed anonymously, a plaintiff must first show that factors addressed in

SMU favor privacy. Plaintiff B, 631 F.3d at 1316 (citing S. Methodist Univ. Ass’n of

Women L. Students v. Wynne & Jaffe, 599 F.2d 707, 713 (5th Cir. 1979)). “Those

factors include whether the party seeking anonymity (1) is challenging government

activity; (2) would be compelled, absent anonymity, to disclose information of

utmost intimacy; or (3) would be compelled, absent anonymity, to admit an intent to

engage in illegal conduct and thus risk criminal prosecution.” In re Chiquita, 965

F.3d at 1247 (citing Plaintiff B, 631 F.3d at 1316). But the court should also analyze

all other relevant circumstances to determine “whether the customary practice of

disclosing the plaintiff’s identity should yield to the plaintiff’s privacy concerns.”

Id. (quoting Plaintiff B, 631 F.3d at 1316).

      In any case, a plaintiff is not entitled to unilaterally omit his name without

leave of court. Here, Plaintiff should have moved for leave to proceed anonymously.

He must either do so now or amend his complaint.

      Within fourteen days, Plaintiff must either (a) file an amended complaint in

his own name or (b) file a motion for leave to file anonymously. If he chooses the

latter, he must carefully explain why, under Eleventh Circuit precedent, this is an




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“exceptional case” that justifies departure from the general rule. If Plaintiff does

neither, the court will dismiss without prejudice.

      There is a motion to dismiss pending. If Plaintiff amends, that will moot the

motion. But Defendant may thereafter refile it directed at the amended complaint.

      SO ORDERED on November 5, 2024.

                                       s/ Allen Winsor
                                       United States District Judge




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